Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 1 of 10



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 17-61051-CIV-ALTONAGA/Goodman

  ABS-CBN CORPORATION, et al.,

         Plaintiffs,
  v.

  ABSCBN-TELESERYE.COM, et al.,

        Defendants.
  _________________________________/

                 FINAL DEFAULT JUDGMENT AND PERMANENT INJUNCTION

         THIS CAUSE is before the Court on Plaintiffs, ABS-CBN Corporation; ABS-CBN Film

  Productions, Inc. d/b/a Star Cinema; and ABS-CBN International’s Motion for Final Default

  Judgment [ECF No. 39], regarding claims against Defendants, the Individuals, Partnerships, and

  Unincorporated Associations identified on Schedule A that operate websites that promote and

  perform pirated content using infringements of Plaintiffs’ trademarks, pursuant to Rule 58 of the

  Federal Rules of Civil Procedure. For the reasons set forth in the Order [ECF No. 40] granting

  the Motion, entered separately on December 27, 2017, it is

         ORDERED AND ADJUDGED that judgment is hereby entered in favor of Plaintiffs,

  ABS-CBN Corporation; ABS-CBN Film Productions, Inc. d/b/a Star Cinema; and ABS-CBN

  International, and against Defendants as follows:

         1.      Permanent Injunctive Relief: Defendants and their respective officers, agents,

                 representatives, servants, employees and attorneys, and all persons acting in

                 concert and participation with Defendants are permanently restrained and

                 enjoined from:
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 2 of 10
                                           CASE NO. 17-61051-CIV-ALTONAGA/Goodman


              a.    advertising, promoting, performing, copying, broadcasting, and/or

                    distributing any of Plaintiffs’ content or copyrighted works, including but

                    not limited to those works identified in Paragraph 25 of the Complaint,

                    Schedule “D” thereto [ECF No. 1], and in Exhibits 2 and 4 thereto [ECF

                    Nos. 1-3 and 1-5];

              b.    advertising, promoting, offering, using, or causing to be advertised,

                    promoted, or offered, services using Plaintiffs’ registered or common law

                    trademarks identified in Paragraphs 14 and 18 of the Complaint and in

                    Schedules “B” and “C” thereto (the “ABS-CBN Marks”);

              c.    using the ABS-CBN Marks in connection with any unauthorized services

                    or performances of Plaintiffs’ copyrighted works;

              d.    using any logo, and/or layout which may be calculated to falsely advertise

                    the services or products of Defendants offered or promoted via the fully

                    accessible Internet websites and supporting domains operating under their

                    individual, partnership, and/or business association names identified on

                    Schedule A (the “Subject Domain Names”) and/or any other website,

                    domain name, or business, as being sponsored by, authorized by, endorsed

                    by, or in any way associated with Plaintiffs;

              e.    falsely representing themselves as being connected with Plaintiff, through

                    sponsorship or association;

              f.    engaging in any act which is likely to falsely cause members of the trade

                    and/or of the purchasing public to believe any content or services of

                    Defendants offered via the Subject Domain Names and/or any other



                                              2
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 3 of 10
                                            CASE NO. 17-61051-CIV-ALTONAGA/Goodman


                    website, domain name, or business, are in any way endorsed by, approved

                    by, and/or associated with Plaintiffs;

              g.    using any reproduction, counterfeit, copy, or colorable imitation of the

                    ABS-CBN Marks in connection with the publicity, promotion,

                    distribution, or advertising of any content or services by Defendants via

                    the Subject Domain Names and/or any other website, domain name, or

                    business;

              h.    affixing, applying, annexing or using in connection with the promotion,

                    distribution, or advertisement of any content or services, a false

                    description or representation, including words or other symbols tending to

                    falsely describe or represent Defendants’ content or services offered by

                    Defendants via the Subject Domain Names and/or any other website or

                    business, as being connected with Plaintiffs, or in any way endorsed by

                    Plaintiffs;

              i.    otherwise unfairly competing with Plaintiffs;

              j.    using the ABS-CBN Marks, or any confusingly similar trademarks within

                    domain name extensions, metatags or other markers within website source

                    code, from use on any webpage (including as the title of any web page),

                    from any advertising links to other websites, from search engines’

                    databases or cache memory, and any other form of use of such terms

                    which is visible to a computer user or serves to direct computer searches

                    to websites registered by, owned, or operated by Defendants, including the

                    Internet websites operating under the Subject Domain Names; and



                                              3
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 4 of 10
                                               CASE NO. 17-61051-CIV-ALTONAGA/Goodman


              k.     effecting assignments or transfers, forming new entities or associations or

                     utilizing any other device for the purpose of circumventing or otherwise

                     avoiding the prohibitions set forth above.

        2.    Additional Equitable Relief: In order to give practical effect to the Permanent

              Injunction:

              a.     The Subject Domain Names are hereby ordered to be immediately

                     transferred by Defendants, their assignees and/or successors in interest or

                     title, and the Registrars to Plaintiffs’ control. To the extent the current

                     Registrars do not facilitate the transfer of the domain names to Plaintiffs’

                     control within five (5) days of receipt of this judgment, the Registries

                     shall, within thirty (30) days, change the Registrar of Record for the

                     Subject Domain Names to a Registrar of Plaintiffs’ choosing, and that

                     Registrar shall transfer the Subject Domain Names to Plaintiffs; and

              b.     Upon Plaintiffs’ request, the top level domain (TLD) Registry for each of

                     the Subject Domain Names, or their administrators, including backend

                     registry operators or administrators, within thirty (30) days of receipt of

                     this Order, shall place the Subject Domain Names on Registry Hold status

                     for the life of the current registration, thus removing them from the TLD

                     zone files maintained by the Registry which link the Subject Domain

                     Names to the IP addresses where the associated websites are hosted.

        3.    Statutory damages: In favor of Plaintiffs pursuant to 15 U.S.C. section 1117(c)

              are determined to be $1,200,000.00 against Defendants jointly and severally,

              for which let execution issue.



                                                4
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 5 of 10
                                             CASE NO. 17-61051-CIV-ALTONAGA/Goodman


        4.    Statutory damages: In favor of Plaintiffs pursuant to 15 U.S.C. section 1117(d)

              are determined to be:

              a.       $10,000.00 against abscbn-teleserye.com (Defendant 1), for which let

                       execution issue;

        5.    Statutory damages: In favor of Plaintiffs pursuant to 17 U.S.C. section 504(c) are

              determined to be:

              a. $30,000.00 against cinepinoy.lol (Defendant 3), for which let execution issue;

              b. $30,000.00 against cinezen.me (Defendant 4), for which let execution issue;

              c. $30,000.00 against pinastvreplay.com (Defendant 14), for which let execution

                   issue.

        6.    All funds currently restrained by the advertising services, networks, and/or

              platforms identified in Schedule “B” hereto (the “Advertising Services”), and

              their related companies and affiliates, pursuant to the temporary restraining order

              [ECF No. 9] and preliminary injunction [ECF No. 20] in this action are to be

              immediately (within five business days) transferred to Plaintiffs in partial

              satisfaction of the monetary judgment entered herein against each Defendant. The

              Advertising Services shall provide to Plaintiffs at the time the funds are released,

              a breakdown reflecting the (i) total funds restrained in this matter per Defendant;

              (ii) the total chargebacks, refunds, and/or transaction reversals deducted from

              each Defendant’s funds restrained prior to release; and (iii) the total funds

              released per Defendant to Plaintiffs.

        7.    Interest from the date this action was filed shall accrue at the legal rate. See 28

              U.S.C. section 1961.



                                                5
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 6 of 10
                                              CASE NO. 17-61051-CIV-ALTONAGA/Goodman


        8.      The bond posted by Plaintiff in the amount of $10,000.00 is ordered to be released

                by the Clerk.

        9.      The Court retains jurisdiction to enforce the Final Judgment and Permanent

                Injunction.

        10.     The Clerk shall mark this case as CLOSED.

        DONE AND ORDERED in Miami, Florida, this 28th day of December, 2017.




                                             _____________________________
                                             CECILIA M. ALTONAGA
                                             UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




                                                6
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 7 of 10
                                         CASE NO. 17-61051-CIV-ALTONAGA/Goodman


                             SCHEDULE “A”
             DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                           Def. No.   Subject Domain Name
                                  1 abscbn-teleserye.com
                                  2 astigvideos.com
                                  3 cinepinoy.lol
                                  3 cinepinoy.ag
                                  3 pinoyflix.ag
                                  3 pinoyflix.lol
                                  4 cinezen.me
                                  5 dramascools.com
                                  6 dramasget.com
                                  8 frugalpinoytv.org
                                  9 lambingan.cn
                                10 pinoylambingan.ph
                                10 lambingan.io
                                11 lambingans.net
                                12 latestpinoymovies.com
                                13 pinasnews.net
                                14 pinastvreplay.com
                                15 pinoybay.ch
                                16 pinoychannel.me
                                17 pinoydailyshows.com
                                18 pinoyplayback.net
                                19 pinoytvshows.net
                                19 pinoytv-shows.net
                                20 rondownload.net
                                21 sarapmanood.com
                                22 tambayanshow.net
                                23 thelambingan.com
                                24 tvnijuan.org
                                25 tvtambayan.org
                                26 vianowpe.com
                                27 weeklywarning.org
                                27 weeklywarning.com




                                           7
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 8 of 10
                                             CASE NO. 17-61051-CIV-ALTONAGA/Goodman


                            SCHEDULE “B”
   DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
            INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

     Def.    Subject Domain         Advertising         Account         Associated E-mail
     No.         Name             Service/Platform     Identifier          Address(es)
                                                      ca-pub-
                                 Google AdSense       8363670849    06zqahjcbmzc@contactpriv
        1 abscbn-teleserye.com   Google, Inc.         262616        acy.email
                                                      ca-pub-
                                 Google AdSense       8363670849    nnfnbbvqo6vh@contactpriv
        2 astigvideos.com        Google, Inc.         262616        acy.email



        3 cinepinoy.lol          N/A                  N/A           contact@privacyprotect.org


                                                                    contact@domainprivacypro
        3 cinepinoy.ag           N/A                  N/A           tect.info



        3 pinoyflix.ag           N/A                  N/A           contact@privacyprotect.org
                                                                    4a3ad9e50259ad26820080a
                                                                    38af7651a-
        3 pinoyflix.lol          N/A                  N/A           2628172@contact.gandi.net
                                 adskeeper.co.uk,                   4a3ad9e50259ad26820080a
                                 Hardware Solution    cinezen.me.   38af7651a-
        4 cinezen.me             Limited              122875        2628172@contact.gandi.net
                                                                    4a3ad9e50259ad26820080a
                                 popads.net,                        38af7651a-
        4 cinezen.me             Tomksoft S.A.        N/A           2628172@contact.gandi.net
                                                      ca-pub-
                                 Google AdSense       2367658883    payments@pakihosting.co
        5 dramascools.com        Google, Inc.         843972        m
                                 revcontent.com,                    dramasget.com@domainsb
        6 dramasget.com          Revcontent, LLC      N/A           yproxy.com

                                                      var pmauid
                                                      = '32157';
                                 popads.net,          var pmawid    thefrugalpinoytv@gmail.co
        8 frugalpinoytv.org      Tomksoft S.A.        = '30857';    m
                                 h12-media.com,
        9 lambingan.cn           H12 UK LTD           N/A           admin@nicenic.net


                                                  8
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 9 of 10
                                                CASE NO. 17-61051-CIV-ALTONAGA/Goodman


     Def.    Subject Domain         Advertising           Account           Associated E-mail
     No.         Name             Service/Platform       Identifier            Address(es)
                                 adskeeper.co.uk,
                                 Hardware Solution      lambingan.i
       10 lambingan.io           Limited                o.123723      N/A
                                 popads.net,
       10 lambingan.io           Tomksoft S.A.          N/A           N/A
                                 Redirects to
       10 pinoylambingan.ph      lambingan.io           N/A           dol...@...
                                                        ca-pub-
                                 Google AdSense         1865856426
       11 lambingans.net         Google, Inc.           290995        usaking73@gmail.com
                                                        ca-pub-       86bc3894580e4338b4ef958
          latestpinoymovies.co   Google AdSense         6712270727    efee7669a.protect@whoisg
       12 m                      Google, Inc.           944137        uard.com
                                 popads.net,
       13 pinasnews.net          Tomksoft S.A.          N/A           contact@privacyprotect.org
                                 popads.net,
       14 pinastvreplay.com      Tomksoft S.A.          N/A           contact@privacyprotect.org

       15 pinoybay.ch            N/A                    N/A           N/A
                                 revcontent.com,
       16 pinoychannel.me        Revcontent, LLC        N/A           sakhani@live.com
                                                        ca-pub-
                                 Google AdSense         6409372530    rajaraveendrareddy.peram
       17 pinoydailyshows.com    Google, Inc.           626142        @gmail.com
                                                        ca-pub-
                                 Google AdSense         1714538266
       18 pinoyplayback.net      Google, Inc.           441049        contact@privacyprotect.org
                                 Redirects to
       19 pinoytvshows.net       pinoytv-shows.net      N/A           fahimtaunsvi@gmail.com
                                                        ca-pub-
                                 Google AdSense         1677375562
       19 pinoytv-shows.net      Google, Inc.           727935        herpalasif@gmail.com
                                                        pid=413907    D6A727F1133F4661B96C
                                 bidvertiser.com,       &bid=15000    B83A5B2C9F20.PROTEC
       20 rondownload.net        Bpath, LTD.            12            T@WHOISGUARD.COM
                                                        ca-pub-       e14fcd7e4f2543eaac7ebeba
                                 Google AdSense         3102114826    f643d10e.protect@whoisgu
       21 sarapmanood.com        Google, Inc.           829472        ard.com


                                                    9
Case 0:17-cv-61051-CMA Document 41 Entered on FLSD Docket 12/29/2017 Page 10 of 10
                                           CASE NO. 17-61051-CIV-ALTONAGA/Goodman


      Def.   Subject Domain      Advertising         Account         Associated E-mail
      No.        Name          Service/Platform     Identifier          Address(es)
                              adnow.com,
       22 tambayanshow.net    Adnow LLP            340913        contact@privacyprotect.org
                              popads.net,
       22 tambayanshow.net    Tomksoft S.A.        N/A           contact@privacyprotect.org
                              mgid.com,
                              MGID Inc.
       23 thelambingan.com    MGID UA              N/A           apnapakforum@gmail.com
                              mgid.com,
                              MGID Inc.
       24 tvnijuan.org        MGID UA              N/A           fastchannels@gmail.com
                              mgid.com,
                              MGID Inc.                          tvtambayan.org@domainsb
       25 tvtambayan.org      MGID UA              N/A           yproxy.com
                                                   ca-pub-
                              Google AdSense       7075767950
       26 vianowpe.com        Google, Inc.         562858        johnweston772@gmail.com
                              Redirects to
       27 weeklywarning.org   weeklywarning.com    N/A           shankarr1555@gmail.com
                              popads.net,                        ultimategangster1993@gm
       27 weeklywarning.com   Tomksoft S.A.        N/A           ail.com




                                              10
